
Duefee, Judge,
concurring in part and dissenting in part:
I agree with the opinion of the majority that plaintiff is entitled to 75 per centum of his active duty pay at the time of his retirement. However, I do not agree with the majority in their decision as to the inclusion of the intervening period of plaintiff’s inactive service, in the computation of plaintiff’s active duty pay at the time of his retirement for the purpose of computing his retired pay.
Upon initial consideration, plaintiff’s claim appears almost precisely within the letter of the fourth paragraph of section 15 of the Pay Readjustment Act of 1942. Upon closer scrutiny, however, the validity of the claim grows more obscure as the legal issue becomes more readily discernible. While the fourth paragraph of section 15 of the Pay Readjustment Act of 1942 plainly prescribes that plaintiff receive as retirement pay 75 percent of his active duty pay immediately prior to retirement, the Career Compensation Act defines the computation of the active duty pay he was actually receiving at that time. Section 202 (b) of the Career Compensation Act of 1949, 63 Stat. 808, provides in pertinent part:
Members * * * shall accrue additional service credit for basic pay purposes, for periods while on a * * * retired list * * * Provided, That, except for active service as prescribed in section 202(a) (1), the service credit authorized in this section shall not be included to increase retired pay * * *.
Thus in defining the basic pay component for members receiving pay pursuant to the statute, this section states in effect that an additional credit will be accorded for years while on inactive service, but that portion of the active duty pay component representing the credit for periods of inactive service is not to be considered a part of “active duty pay” for retirement pay purposes. Thus while it is true that section 531 (b) (34) of the Career Compensation Act of 1949, 63 Stat. 838, 839, makes paragraph 4 of section 15 of the Pay Readjustment Act of 1942 controlling as to the computation of plaintiff’s retirement pay, the computation of retirement pay pursuant to the fourth paragraph of section 15 is applicable only to the rate prescribed under the Career Compensation Act, pursuant to which plaintiff *257received active duty pay immediately prior to retirement. Inasmuch as that rate, as defined by section 202(b), does not include the additional credit for periods of inactive service for retirement pay purposes, plaintiff cannot include that credit in the computation set forth by the fourth paragraph of section 15 of the Pay Readjustment Act of 1942. Therefore, applying the fourth paragraph of section 15 of the Pay Readjustment Act of 1942 to the rates authorized by the Career Compensation Act of 1949, plaintiff should be entitled to 75 percent of the active duty pay of a captain in the Navy with more than twenty-six but less than thirty years of service.
To the extent necessary to effectuate these conclusions, I thiuh plaintiff’s and defendant’s motions should each be granted in part and denied in part.
Reed, Justice {Bet.), sitting by designation, concurs in this dissent.
In accordance with the opinion of the court and on a memorandum report of the commissioner as to the amount due thereunder, it was ordered on July 6, 1962, that judgment for plaintiff be entered for $5,536.58.
